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WRITTEN RECORD OF PLEA AGREEMENT
U.S. MAGISTRATE JUDGE MARK E. ASPEY
FLAGSTAFF, ARIZONA

UNITED STATES OF AMERICA v. Matthew M. Buckley OS-A4d somr
MAG./CITATION NO(s). L0132056

DEFENDANT'S ADDRESS: 20282 Jefferson Street, Perris, California 92570
YOB: 1979 SSN: LICENSE NO. B8967977 STATE: California

VIOLATION(s) PLEADING GUILTY TO: 43 CFR 423.4(d) operation of watercraft while under
the influence of alcohol

CLASS OF OFFENSE/DESCRIPTION:
Class B misdemeanor, operation of watercraft under the influence of alcohol, test result of 0.104

MAX, FINE: ($5000.00) Class B misdemeanor
MAX. IMPRISONMENT: (180 days) Class B misdemeanor

MANDATORY SPECIAL ASSESSMENT (18 U.S.C. §3013) / $25.00 CVB Processing Fee:
Special assessment fee for class B misdemeanor is $10.00, C VB processing fee is $25.00

MAX. PROBATION/SUPERVISED RELEASE: (18 U.S.C. § 3561 and § 3583)
Probation not more than five years for a misdemeanor, supervised release not more than one year
for a misdemeanor

RULE 11 (C)(1)(B), F. R. Crim. P.. RECOMMENDED SENTENCE:

In regard to citation number LO132056, operation of watercraft under the influence of alcohol, for
a first offense, the recommended sentence is $500.00, $25.00 CVB processing fee, $10.00
mandatory special assessment fee for class B misdemeanor, one year probation, and alcohol
screening. / ( {’e le ER au 5

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RESTITUTION: (18 U.S.C. § 3663) Not applicable

DISPOSITION OF ADDITIONAL CHARGES: Not applicable
I, Matthew M. Buckley, understand that the above sentencing recommendation is not binding
upon the Court and if the Court rejects the recommendation and imposes a sentence different from

that recommended, I will not be permitted to withdraw my plea of guilty.

By pleading guilty, 1 will be giving up my rights to plead not guilty; to confront, cross-
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examine and compel the attendance of witnesses at trial; to present evidence in my defense; to remain
silent and refuse to be a witness against myself by asserting my privilege against self-incrimination- all
with the assistance of counsel - and to be presumed innocent unti! proven guilty beyond a reasonable
doubt. I waive my right to trial, including a jury trial if applicable, agree to enter my guilty plea
before and to be sentenced by a U.S. Magistrate Judge, and waive my right to appeal or otherwise
challenge my conviction. The nature of the charge(s) and the possible penalties have been explained
to me, and there is a factual basis for each charge to which I am pleading guilty. I understand that the
Court may later modify the terms and conditions of any probation or supervised release ordered as
part of my sentence. My guilty plea is not the result of force, threats, or promises other than any
promised contained in this written agreement. I am not under the influence of alcohol or drugs and
am fully capable of understanding this agreement and enter into it knowingly and voluntarily.

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Date ”
Defendant's Attorney Date
(Nol a 6
LDS LY NES
(Gent ng Agency Date

> ACCEPTED

and so ordered

REJECTED - [BLY -O Sf
MARK E. ASPEY Date
U.S. Magistrate Judge

